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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA



PAULA A. ATES, individually and on behalf of                    Civil Action No.
all those similarly situated,
                              Plaintiff,                        CLASS ACTION
                                                                COMPLAINT
        vs.

DELTA AIRLINES, INC.; AMERICAN
AIRLINES, INC.; SOUTHWEST AIRLINES,                             JURY TRIAL DEMANDED
CO.; an UNITED AIRLINES, INC.,

                                Defendants



        Plaintiff, Paula A. Ates, files this civil antitrust action under Section 1 of the

Sherman Act, Section 4 and 16 of the Clayton Act, and Rule 23 of the Federal Rules of

Civil Procedure, for treble damages, costs of suit, and other relief as may be determined

as just and proper, on behalf of herself and those similarly situated against Defendants

Delta Airlines, Inc., American Airlines, Inc., Southwest Airlines Co. and United Airlines,

Inc. for Defendants’ conspiracy to restrict output and thereby to fix, raise, maintain or

stabilize prices of passenger airline tickets through a number of means including

colluding to limit seat capacity and signaling other airlines on how quickly they would

add new flights, routes and extra seats in order to limit the capacity of passenger airline

travel in the United States. Based upon personal knowledge, information, belief, and

investigation of counsel, Plaintiff specifically alleges:

I. JURISDICTION AND VENUE

        1. Plaintiff’s claim for injuries for Defendants’ violations of Section 1 of the

Sherman Act, 15 U.S.C. § 1, are brought pursuant to Sections 4 and 16 of the Clayton



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Act, 15 U.S.C. §15 and 26, to obtain injunctive relief and to recover treble damages and

the costs of suit, including reasonable attorneys’ fees.

        2. This Court has original federal question jurisdiction over the Sherman Act

claim pursuant to 28 U.S.C. §§ 1331 and 1337 and Sections 4 and 16 of the Clayton Act,

15 U.S.C. §15 and 26.

        3. Venue is proper in this judicial district pursuant to Sections 4(a) and 12 of the

Clayton Act, 15 U.S.C. §§ 15 and 22, and 28 U.S.C. § 1391(b), (c) and (d), because

during the Class Period one or more Defendants resided in, transacted business in, were

found in, or had agents in this District, and a substantial part of the events giving rise to

Plaintiffs' claims occurred and a substantial portion of the affected trade and commerce

described below has been carried out in this District.

        4. This Court has personal jurisdiction over each Defendant because, inter alia,

each Defendant: (a) transacted business in this District: (b) directly or indirectly sold and

delivered passenger airline tickets in this District; (c) has substantial aggregate contacts

with this District; and (d) engaged in an illegal price-fixing conspiracy to limit seat

capacity that was direct at, and had the intended effect of causing injury to, persons and

entities residing in, located in, or doing business in this District.

        5. Jurisdiction and venue are further appropriate in this District for the location of

Louis Armstrong New Orleans International Airport.

II. PARTIES


        6. Plaintiff Paula A. Ates (“Plaintiff”) is a resident of LaPlace, Louisiana who

directly purchased a passenger airline ticket from one of the Defendants at

supracompetitive prices and suffered antitrust injury and damages as a result.



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          7. Defendant Delta Airlines, Inc. (“Delta”) is a Delaware corporation with its

principal place of business located at Hartsfield Atlanta International Airport, 1030 Delta

Boulevard, Atlanta, Georgia 30354-1989.

          8. Defendant American Airlines, Inc. (“American”) is a Delaware corporation

with its principal place of business located at 433 Amon Carter Blvd., Fort Worth, Texas

76155.

          9. Defendant Southwest Airlines Co. (“Southwest”) is a Texas corporation with

its principal places of business located at Long Island MacArthur Airport, 201 Clark

Drive, Ronkonkoma, NY 11779 and 2702 Love Field Drive, Dallas, Texas 75235.

          10. Defendant United Airlines, Inc. (“United”) is a Delaware corporation with its

principal place of business located at 233 South Wacker Drive, Chicago, Illinois 60606.

          11. On information and belief, other airlines have participated in the conspiracy to

limit seat capacity and conspired with Defendants in the conspiracy alleged herein.

          12. The acts alleged herein to have been committed by Defendants were

authorized, ordered or performed by Defendants’ directors, officers, managers,

employees, agents or representatives in the course of their employment and while

actively engaged in the management of Defendants’ businesses.

III. INTERSTATE TRADE AND COMMERCE

          13. Throughout the Class Period, there was a continuous and uninterrupted flow

of interstate trade and commerce throughout the United States in the provision of

passenger airline services and airline ticket sales by Defendants to their customers located

in every state and conducted at airports located in every state throughout the United

States.




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        14. Throughout the Class Period, Defendants’ conspiracy to limit seat capacity

took place within and substantially affected the flow of interstate commerce and had a

direct, substantial and reasonably foreseeable effect upon commerce throughout the

United States.

IV. FACTUAL ALLEGATIONS

        15. This action alleges collusion among the major passenger airlines to limit

routes, information and available seats in order to keep the price of airline tickets for

passenger travel on U.S. routes artificially high. Plaintiff alleges that Defendants colluded

and agreed to limit seat capacity and illegally signaled to each other how quickly they

would add new flights, new routes, and extra seats on existing fights and routes, in order

to restrict output and thus keep prices of passenger airline tickets artificially high.

        16. On June 30, 2015, the United States Department of Justice (“DOJ”) sent civil

investigative demand letters to major airlines as part of an investigation into the possible

unlawful coordination to limit seat capacity increases, and thereby keep ticket prices

high. The DOJ demanded copies of all communications between carriers, their

shareholders and investment analysts about their plans for limiting seat capacity.

        17. All the ways in which the airlines have coordinated are not immediately clear,

but the DOJ investigators are considering at least public comments by airline executives

and industry experts. Those public comments are made in meetings that include last

month’s International Air Transport Association conference and others where the airlines

have continuously signaled to each other that it was in their joint interest to keep capacity

tight and to keep prices high. At that meeting, the airline executives stressed the

importance of “capacity discipline” to cut down on costly, competitive price wars.




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        18. A United Airlines spokesperson confirmed to news agencies that the airline

has received a letter from the DOJ and was complying with their requests. American

Airlines also was reported to have received notice from the DOJ and stated it would fully

cooperate with the investigation. A spokesperson for Southwest Airlines confirmed

receiving the notice from the DOJ and stated it would cooperate fully in the investigation.

Representatives from Delta Airlines also confirmed they were among those being

investigated and were complying with the DOJ requests.

        19. Following a series of airline mergers, American, Delta, Southwest and United

now control 80 percent of the U.S. market. During the relevant period, the average

domestic airfare rose 13 percent from 2009 to 2014 adjusted for inflation according to

data from the Department of Transportation’s Bureau of Transportation Statistics:




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Available at http://www.rita.dot.gov/bts/airfares/national/chart

        20. In the first quarter of this year, American logged $1.2 billion in profit – its

most profitable three months ever. The International Air Transport Association projected

in June 2015 that the airline industry profits would more than double in 2015 to nearly a

record $30 billion.

        21. The average domestic flight in 2014 cost $392, the highest annual fare since

the Bureau of Transportation began collecting air fare records in 1995 and 2.5 percent

higher than the previous high of $382 in 2013.

See http://www.rita.dot.gov/bts/press_releases/bts021_15

Adjusted for inflation, fares are at a 12-year high. The statistics include only the price

paid at the time of the ticket purchase and do not include other fees paid at the airport or

onboard the aircraft.




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Available at
http://www.rita.dot.gov/bts/airfares/programs/economics_and_finance/air_travel_price_i
ndex/ht ml/AnnualFares.html

        22. While fares have been going up, so too have fees that carriers charge for

things such as checked bags and reservation changes. News sources report that the

airlines collected $3.6 billion in bag fees and $3 billion in reservation-change fees, and

that U.S. airlines earned a combined $19.7 billion in the past two years.

        23. Senator Richard Blumenthal, D-Connecticut, recently wrote the DOJ urging

the investigation, following the international airline conference in June 2015 in Miami,

where several executives of the airlines said they were being careful to limit service

increases amid cheap fuel to protect profit margins. The letter urged the DOJ to

“investigate this apparent anti-competitive conduct potentially reflecting a misuse of

market power, and excessive consolidation in the airline industry.”

        24. Senator Charles Schumer, D-New York, said in a recent statement that “[i]t’s

hard to understand, with jet fuel prices dropping by 40 percent since last year, why ticket

prices haven’t followed.” “At a time when the cost of fuel is plummeting and profits are

rising, it is curious and confounding that ticket prices are sky-high and defying economic

gravity,” said Senator Schumer. “So I’m urging the feds to step in and do a price

investigation on behalf of consumers who must buy holiday travel tickets that can break

the bank. The industry often raises prices in a flash when oil prices spike, yet they appear

not to be adjusting for the historic decline in the cost of fuel; ticket prices should not

shoot up like a rocket and come down like a feather. That is why I urge the DOJ and

DOT to immediately investigate why airline profits are not more efficiently being passed

down to consumers.”




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        Available at http://www.schumer.senate.gov/newsroom/press-releases/schumer-
as-fuel-costs-plummet-airfares-for-nyers-this-holiday-season-remain-extremely-
high_calls-for- federal-investigation-into-why-dramatically-lower-fuel-costs-and-record-
airline-profits-are-not- being-passed-on-to-consumers-through-lower-fares.

        25. Recent reports have indicated that airlines are now making record profits.

According to the International Air Transport Association, airlines’ collective global net

profit in 2014 was expected to be $19.9 billion and in 2015 was expected to be $25

billion. In 2013, airline profits were approximately $11 billion. In addition to record

profits, fuel prices were dramatically falling and were expected to continue to drop. Fuel

prices were about $60/barrel in December 2014 and according to the International Air

Transport Association, the average oil price in 2015 was expected to be $85/barrel,

whereas in years past, the average oil price has been above $100/barrel.

        26. Financial filings show that historically low prices for jet fuel have helped the

carriers save billions of dollars on their biggest expense, with the four major airlines

saving about $3.3 billion on fuel in the first quarter of 2015.

        27. The DOJ investigation also followed reports by the NEW YORK TIMES on June

11, 2015 entitled “Discipline for Airlines, Pain for Fliers.” “Discipline” was the

buzzword at the International Air Transport Association Annual General Meeting in

Miami held June 7-9, 2015.

        28. Delta Air Lines’ President Ed Bastian stated that Delta was “continuing with

the discipline that the marketplace is expecting.”

        29. Air Canada’s CEO Calin Rovinescu stated that “[p]eople were undisciplined

in the past, but they will be more disciplined in time.”




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        30. American Airlines CEO Doug Parker said the airlines had learned their

lessons from past price wars and told Reuters “I think everybody in the industry

understands that.”

        31. Jeff Sismek, the CEO of United, was quoted in January 2015 while

announcing a $2 billion profit for United in 2014 that “[w]e will absolutely not lose our

capacity discipline. . . . It’s very health for us and very healthy for the industry.”

        32. “Discipline” has been reported to be the “classic oligopoly-speak for limiting

flights and seats, higher prices and fatter profit margins” and “industry jargon for limiting

flights.” “When airline industry leaders say they’re going to be disciplined, they mean

they don’t want anyone to expand capacity,” said Fiona Scott Morton, professor of

economics at Yale and former deputy attorney general in the antitrust division of the

Justice Department. “And when there aren’t enough seats, airlines raise prices. That’s

what we’ve been seeing.”

        33. Business Travelers Coalition chairman Kevin Mitchell confirmed on July 2,

2015 that “[s]ince recent U.S. airline mega-mergers, we have witnessed near constant

airline CEO calls for ‘capacity discipline’ during industry gatherings and analyst

earnings calls only to be echoed by analysts in follow-on earnings calls with other

airlines. This represents perhaps the darkest hours of airline coordination as well as a too-

cozy harmonization between the airlines and Wall Street.”

        34. The NEW YORK TIMES article reported that “after coming under fire” at the

International Air Transport Association Annual General Meeting in Miami held June 7-9,

2015, Southwest, which had previously announced it planned to increase its capacity by 8

percent at its hub at Love Field in Dallas, “moved to reassure investors it isn’t going




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rogue.” Gary C. Kelly, the CEO of Southwest, stated “[w]e have taken steps this week to

begin pulling down our second half 2015 to manage our 2015 capacity growth.”

         35. Senator Richard Blumenthal wrote to U.S. Assistant Attorney General

William Baer on the withdrawal by Southwest of its plans to increase capacity: “[t]he

conclusion seems inescapable that the remarks made at IATA were targeted at Southwest

and that its capitulation was the result of the ‘fire’ aimed at the company.”

         36. Senator Blumenthal further noted in his letter to Assistant Attorney General

Baer that the DOJ’s investigation into the US Airways merger with American Airlines in

2013 that “most airlines have traditionally viewed capacity reductions as a highly

valuable way to artificially raise fares and boost profit margins.” Senator Blumenthal

wrote:

         DOJ’s original complaint painted a stark picture of an extremely consolidated
         market, in which a few firms wield enormous market power to the detriment of
         consumers and competition – and in which high-level executives believe there is
         an unmistakable link between fluctuations in capacity and fare hikes. During the
         court of the Antitrust Division’s review of the American Airlines / US Airways
         merger, your staff studied the internal analyses and the planning documents put
         together by both companies in considering the likely effects of the merger. During
         DOJ’s original announcement rejecting the merger you stated, “High level
         executives at US Airways have talked about how consolidation allows for
         capacity reductions that “enable” fare increases.”

V. CLASS ACTION ALLEGATIONS

         37. Plaintiff brings this action on behalf of herself and, under Rules 23(a) and (b)

of the Federal Rules of Procedure, on behalf of a class (the “Class”) defined as follows:

         All persons and entities who purchased an airline passenger ticket directly from
         any of the Defendants from January 1, 2010 to present (the “Class Period”).

         38. Excluded from the Class are Defendants and their employees, subsidiaries,

affiliates, parents, partners and agents, whether or not named in this Complaint.




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        39. Members of the Class are so numerous and geographically dispersed that

joinder is impracticable. Further, the Class is readily identifiable from information and

records in the possession of Defendants.

        40. Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff and members of the Class were damaged by the same wrongful conduct of

Defendants.

        41. Plaintiff will fairly and adequately protect and represent the interests of the

Class. The interests of the Plaintiff are coincident with, and not antagonistic to, those of

the Class.

        42. Plaintiff is represented by counsel with experience in the prosecution of class

action antitrust litigation.

        43. Questions of law and fact common to the members of the Class predominate

over questions that may affect only individual Class members, thereby making damages

with respect to the Class as a whole appropriate. Questions of law and fact common to

the Class include, but are not limited to:

                a. Whether the Defendants and their co-conspirators colluded to fix, raise,

                stabilize or maintain the prices of, or to restrict output for, passenger

                airline tickets in the United States;

                b. Whether Defendants’ conduct violated Section 1 of the Sherman

                Antitrust Act;

                c. Whether Defendants’ conduct cause injury and damage to Plaintiff and

                the members of the Class;




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                d. The appropriate measure of damages resulting from the violation of

                Section 1 of the Sherman Antitrust Act;

                e. The operative time period of Defendants’ violations of Section 1 of the

                Sherman Antitrust Act; and

                f. Whether Defendants have acted or refused to act on grounds generally

                applicable to the Class, thereby making appropriate final injunctive relief

                or corresponding declaratory relief with respect to the Class as a whole.

        44. Class action treatment is a superior method for the fair and efficient

adjudication of this controversy. Such treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort or expense that

numerous individual actions would require. The benefits of proceeding through the class

mechanism, including providing injured persons or entities a method for obtaining

redress on claims that could not practicably be pursued individually, substantially

outweighs potential difficulties in management of this class action.

        45. Plaintiff knows of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.

VI. COUNT ONE: PRICE FIXING IN VIOLATION OF SECTION 1 OF THE

SHERMAN ACT

        46. Plaintiff repeats and reasserts each of the preceding allegations as if fully set

forth herein.

        47. The combination and conspiracy alleged herein is a per se violation of Section

1 of the Sherman Antitrust Act.




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        48. Alternatively, the combination and conspiracy alleged herein is a rule of

reason violation of Section 1 of the Sherman Antitrust Act.

        49. Defendants intended to and actually did restrain trade. They shared a

conscious commitment to a common scheme designed to achieve the unlawful objective

of restricting output and artificially fixing, raising, pegging, maintaining, stabilizing, and

otherwise manipulating the price of airline passenger tickets.

        50. The conspiracy unreasonably restrained trade. There is no legitimate business

justification for, or procompetitive benefits caused by, Defendants’ unreasonable restraint

of trade. Any ostensible procompetitive benefit was pretextual or could have been

achieved by less restrictive means.

        51. Plaintiff and members of the Class have been injured in their business and

property by reason of Defendants’ violation of Section 1 of the Sherman Antitrust Act, 15

U.S.C. § 1, within the meaning of Section 4 of the Clayton Antitrust Act, 15 U.S.C. § 15.

        52. Plaintiff and members of the Class are threatened with impending future

injury to their business and property by reason of Defendants’ continuing violation of

Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1, within the meaning of Section 16

of the Clayton Antitrust Act, 15 U.S.C. § 26.

VII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of herself and the Class, prays that the Court:

        A. Determine that this action may be maintained as a class action pursuant to Fed.

R. Civ. P. 23(a) and (b)(3), and direct that reasonable notice of this action, as provided by

Fed. R. Civ. P. 23(c)(2), be given to the Class, and declare Plaintiff Paula A. Ates as a

named representative of the class;




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          B. Conduct expedited discovery proceedings leading to a prompt trial on the

merits before a jury on all claims and defenses;

          C. Enter joint and several judgments against the Defendants and in favor of

Plaintiff and the Class;

          D. Award the Class damages (i.e., three times overcharges) in an amount to be

determined at trial, plus interest in accordance with law;

          E. Award Plaintiff and the Class their costs of suit, including reasonable

attorneys’ fees as provided by law; and

          F. Award such further and additional relief as is necessary to correct for the

anticompetitive market effects caused by the Defendants’ unlawful conduct, as the Court

may deem just and proper under the circumstances.

VIII. JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

herself and the proposed class, demands a trial by jury on all issues so triable.

	  
August	  4,	  2015	  
	  
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	    	           	      	     	     	       BECNEL	  LAW	  FIRM,	  LLC	  
	    	           	      	     	     	       Daniel	  E.	  Becnel,	  Jr.	  (La	  Bar	  #2926)	  
	    	           	      	     	     	       Matthew	  B.	  Moreland	  (La.	  Bar	  #24567)	  
	    	           	      	     	     	       Jennifer	  L.	  Crose	  (La.	  Bar	  #32116)	  
	    	           	      	     	     	       P.O.	  Drawer	  H	  
	    	           	      	     	     	       106	  West	  7th	  Street	  
                                                  Reserve,	  LA	  70084	  
                                                  Counsel	  for	  Plaintiff	  Paula	  A.	  Ates	  and	  the	  
                                                  Proposed	  Class	  
	  




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